             Case 3:16-cv-04384-JST Document 158 Filed 08/28/18 Page 1 of 5



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     Interim Co-Lead Class Counsel
11
                               UNITED STATES DISTRICT COURT
12                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
13
     Aberin et al. v. American Honda Motor Co., Inc.
14                                                     NO. 3:16-cv-04384-JST
15                                                     STIPULATION AND [PROPOSED]
16                                                     ORDER CONTINUING HEARING ON
                                                       JOINT DISCOVERY LETTER
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     STIPULATION AND [PROPOSED] ORDER CONTINUING HEARING ON
     JOINT DISCOVERY LETTER - 1
     CASE NO. 3:16-CV-04384-JST
               Case 3:16-cv-04384-JST Document 158 Filed 08/28/18 Page 2 of 5




 1           WHEREAS, on July 20, 2018, Plaintiffs Lindsey and Jeff Aberin, Don Awtrey, Charles

 2   Burgess, John Kelly, Yun-Fei Lou, Joy Matza, and Melissa Yeung (“Plaintiffs”), and Defendant

 3   American Honda Motor Co., Inc. (“AHM”), filed a joint letter brief regarding discovery disputes

 4   (D.E. 156);

 5           WHEREAS, on July 30, 2018, this Court issued a Notice and Order Setting Hearing on Joint

 6   Discovery Letter (D.E. 157) for August 30, 2018 at 11:00 am at the U.S. District Court, 1301 Clay

 7   Street, Oakland, California 94612, hereby stipulate as follows;

 8           WHEREAS, Scott A. George, an attorney for the Plaintiffs who has been primarily

 9   responsible for discovery in this litigation, including the joint letter brief mentioned above; and

10           WHEREAS, Mr. George was hospitalized starting on August 27, 2018 due to emergent

11   personal health reasons, which hospitalization may last through the end of the week followed by a

12   time where he will be prohibited from travel.

13           WHEREFORE, the Parties hereby request:

14           1. The hearing currently set for August 30, 2018 at 11:00 am, be continued to a later

15                 date.

16           2. The Parties are available on September 20, 2018, three weeks from the current date,

17                 or as may otherwise be directed by the Court.

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     DATED: August 28, 2018                          Respectfully Submitted,
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     KING & SPALDING LLP                             SEEGER WEISS LLP
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     By: /s/ Livia M. Kiser                          By: /s/ Christopher A. Seeger
22   Livia M. Kiser (SBN 285411)                     Christopher A. Seeger, Admitted Pro Hac Vice
     Email: lkiser@kslaw.com                         Email: cseeger@seegerweiss.com
23   KING & SPALDING LLP                             Stephen A. Weiss, Admitted Pro Hac Vice
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     STIPULATION AND [PROPOSED] ORDER CONTINUING HEARING ON
     JOINT DISCOVERY LETTER - 2
     CASE NO. 3:16-CV-04384-JST
           Case 3:16-cv-04384-JST Document 158 Filed 08/28/18 Page 3 of 5



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 7                                 Interim Co-Lead Class Counsel

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     STIPULATION AND [PROPOSED] ORDER CONTINUING HEARING ON
     JOINT DISCOVERY LETTER - 3
     CASE NO. 3:16-CV-04384-JST
              Case 3:16-cv-04384-JST Document 158 Filed 08/28/18 Page 4 of 5




 1                                     [PROPOSED] ORDER

 2          IT IS ORDERED that the hearing on Joint Discovery Letter set for August 30, 2018, at

 3   11:00 am is continued to September 20, 2018.

 4   DATED:
                                                           DONNA M. RYU
 5                                                         United States Magistrate Judge
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     STIPULATION AND [PROPOSED] ORDER CONTINUING HEARING ON
     JOINT DISCOVERY LETTER - 4
     CASE NO. 3:16-CV-04384-JST
              Case 3:16-cv-04384-JST Document 158 Filed 08/28/18 Page 5 of 5




 1                                     SIGNATURE ATTESTATION

 2            I am the ECF User whose identification and password are being used to file the

 3   foregoing Stipulation and Proposed Order. In compliance with Civil Local Rule 5.1, I hereby

 4   attest that the signatory has concurred in this filing.

 5

 6   Dated: August 28, 2018                          By: /s/ Christopher A. Seeger
                                                     Christopher A. Seeger
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     STIPULATION AND [PROPOSED] ORDER CONTINUING HEARING ON
     JOINT DISCOVERY LETTER - 5
     CASE NO. 3:16-CV-04384-JST
